Case 1:12-cv-00730-CMA-MJW Document 9 Filed 04/20/12 USDC Colorado Page 1 of 1




                                  IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 12-cv-00730-CMA-MJW

  EDWARD JIOVANI,

                Plaintiff,

  v.

  AMERICAN CORADIUS INTERNATIONAL, LLC, a Delaware limited liability company,

                Defendant.


                                  NOTICE OF SETTLEMENT


         COMES NOW the parties by and through their undersigned counsel of record and

  for their Notice of Settlement, hereby state as follows:

  1.     The Plaintiff and the Defendant have reached a settlement.

  2.     The settlement document has been executed by the parties.

  3.     The Parties will be filing a Stipulation of Dismissal with Prejudice with each party to

         pay its own attorney’s fees and costs once the settlement terms have been

         completed by the parties. The Parties expect this to happen by May 11, 2012.

  Dated: April 19, 2012.

  Respectfully Submitted,

  _s/ David M. Larson____________            __s/ Louis Leonard Galvis______
  David M. Larson, Esq.                      Louis Leonard Galvis, Esq.
  88 Inverness Circle East, Suite I-101      Sessions, Fishman, Nathan & Israel, LLC
  Englewood, CO 80112                        645 Stonington Lane
  Telephone: (303) 799-6895                  Fort Collins, CO 80525
  Attorney for Plaintiff                     Telephone: (970) 223-4420
                                             Attorney(s) for Defendant
